DEFENDANT INFORMATION SHEET 14 24 M

TO: Clerk, U.S. District Court Felony X___| Class A Misdemeanor
DEFENDANT: Robert Hunter Biden Indictment x Information

DOB (Year Only): 1970 COUNTY OF OFFENSE: New Castle

OFFENSE(S) & CITATION(S): MAXIMUM PENALTY:

 

Count |: Willful Failure to Pay Tax, 26 U.S.C. § 7203 12 months of imprisonment; a fine of $100,000 or twice the gross gain or loss from the
offense, whichever is greater; | year of supervised release; restitution; a $25 special
assessment; costs of prosecution

 

Count 2: Willful Failure to Pay Tax, 26 U.S.C. § 7203 12 months of imprisonment; a fine of $100,000 or twice the gross gain or loss from the
offense, whichever is greater; | year of supervised release; restitution; a $25 special
assessment, costs of prosecution

 

 

 

 

 

 

INSTRUCTIONS
[| Order to Produce for Arraignment on: at 1:00 p.m.
[| Issue Arrest Warrant upon signing of Order
[ x | Issue Summons for Initial Appearance on: at

Interpreter Needed Language

DEFENDANT INFORMATION

 

 

 

 

 

 

Defendant’s Address:
City: Malibu County: Los Angeles State: California Zip: 90265
Date of Arrest: Date of 1* Appearance in this District:
Bail Set: Date Made: Remains in Federal Custody [
FILEL Digitally signed by LEO
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JUN 20 2023 Surtk fliers

Special Assistant United States Attorneys

Benjamin L. Wallace
Assistant United States Attorney
